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                                                                           Defendant's
                                                                        Notice of Removal
                                                                             Exhibit A
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